   CASE 0:17-md-02795-MJD-KMM Document 158 Filed 05/23/18 Page 1 of 6




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


    IN RE: CENTURYLINK SALES                    MDL No. 17-2795 (MJD/KMM)
    PRACTICES AND SECURITIES
    LITIGATION

    This document relates to:                   PLAINTIFFS’ MOTION TO
    0:17-cv-02832, 0:17-cv-04613,               COMPEL PRODUCTION OF
    0:17-cv-04614, 0:17-cv-04615,               DOCUMENTS
    0:17-cv-04616, 0:17-cv-04617,
    0:17-cv-04618, 0:17-cv-04619,
    0:17-cv-04622, 0:17-cv-04943,
    0:17-cv-04944, 0:17-cv-04945,
    0:17-cv-04947, 0:17-cv-05001,
    0:17-cv-05046


      Pursuant to Federal Rules of Civil Procedure 37 and 45(d)(2)(B)(i), Plaintiffs

hereby move this Court for an Order compelling Defendant CenturyLink, Inc. and

proposed intervenors Qwest Corporation, Embarq Florida, Inc., Embarq Missouri, Inc.,

Carolina Telephone and Telegraph Company LLC, Central Telephone Company,

CenturyTel of Idaho, Inc., CenturyTel of Larsen-Readfield, LLC, CenturyTel of

Washington, Inc., CenturyTel Broadband Services, LLC, and Qwest Broadband Services,

Inc. (“Proposed Intervenors”) to provide documents responsive to Plaintiffs’ Request for

Production of Documents, Set One and to Plaintiffs’ subpoenas duces tecum to the

Proposed Intervenors.

      Plaintiffs’ present motion seeks to compel the production of documents relevant to

Plaintiffs’ examination of the numerous unilateral factual assertions Defendant and the

Proposed Intervenors have made in support of their motions to intervene, to dismiss for
   CASE 0:17-md-02795-MJD-KMM Document 158 Filed 05/23/18 Page 2 of 6




lack of personal jurisdiction over CenturyLink, Inc., and to compel arbitration. Chief

among these factual assertions are that CenturyLink, Inc. is a mere shell company lacking

employees or any business operations, and that the Proposed Intervenors are responsible

for the promises, representations, breaches, and omissions underlying Plaintiffs’

Consolidated Class Action Complaint.         The Document Requests in dispute focus

primarily on testing these factual assertions, which directly conflict with facts Defendant,

Proposed Intervenors, and their counsel have disseminated outside of their pending

motion papers.

       Counsel for Plaintiffs, CenturyLink, Inc., and the Proposed Intervenors met and

conferred by telephone on May 11, May 14, and May 18, 2018 regarding the Document

Requests. Counsel were able to resolve some of their differences, but several issues

remain that require the Court’s guidance.        A ruling on the appropriateness of the

objections by CenturyLink, Inc. and the Proposed Intervenors should assist the parties as

future disputes arise.

       Plaintiffs’ motion will be based upon their memorandum of law and any

declarations, exhibits, and other supporting documents to be filed in support thereof.


Dated: May 23, 2018                              Respectfully submitted,

                                                 ZIMMERMAN REED LLP

                                                 s/ Brian C. Gudmundson
                                                 Carolyn G. Anderson (MN 275712)
                                                 Brian C. Gudmundson (MN 336695)
                                                 Bryce D. Riddle (MN 398019)
                                                 1100 IDS Center
                                                 80 South 8th Street


                                             2
CASE 0:17-md-02795-MJD-KMM Document 158 Filed 05/23/18 Page 3 of 6




                                    Minneapolis, MN 55402
                                    Telephone: (612) 341-0400
                                    Facsimile: (612) 641-0844
                                    carolyn.anderson@zimmreed.com
                                    brian.gudmundson@zimmreed.com
                                    bryce.riddle@zimmreed.com

                                    ZIMMERMAN REED LLP
                                    Hart L. Robinovitch
                                    14646 N. Kierland Blvd., Suite 145
                                    Scottsdale, AZ 85254
                                    Telephone: (480) 348-6400
                                    Facsimile: (480) 348-6415
                                    hart.robinovitch@zimmreed.com

                                    Plaintiffs’ Interim Co- Lead and
                                    Liaison Counsel

                                    O’MARA LAW GROUP
                                    Mark M. O’Mara
                                    Alyssa J. Flood
                                    Channa Lloyd
                                    Caitlin H. Reese
                                    221 NE Ivanhoe Blvd., Suite 200
                                    Orlando, FL 32804
                                    Telephone: (407) 898-5151
                                    Facsimile: (407) 898-2468
                                    mark@omaralawgroup.com
                                    alyssa@omaralawgroup.com
                                    channa@omaralawgroup.com
                                    caitlin@omaralawgroup.com

                                    GERAGOS & GERAGOS, APC
                                    Mark J. Geragos
                                    Benjamin J. Meiselas
                                    Historic Engine Co. No. 28
                                    644 South Figueroa Street
                                    Los Angeles, CA 90017-3411
                                    Telephone: (231) 625-3900
                                    Facsimile: (231) 232-3255
                                    mark@geragos.com
                                    meiselas@geragos.com



                                3
CASE 0:17-md-02795-MJD-KMM Document 158 Filed 05/23/18 Page 4 of 6




                                    GERAGOS & GERAGOS, APC
                                    Lori G. Feldman
                                    7 West 24th Street
                                    New York, NY 10010
                                    Telephone: (917) 388-3121
                                    lori@geragos.com

                                    Plaintiffs’ Interim Co-Lead Counsel

                                    GUSTAFSON GLUEK PLLC
                                    Daniel C. Hedlund (#258337)
                                    Michelle J. Lobby (#388166)
                                    Canadian Pacific Plaza
                                    120 South Sixth Street, Suite 2600
                                    Minneapolis, MN 55402
                                    Telephone: (612) 333-8844
                                    Facsimile: (612) 339-6622
                                    dhedlund@gustafsongluek.com
                                    mlooby@ gustafsongluek.com

                                    Plaintiffs’ Executive Committee Chair

                                    HELLMUTH & JOHNSON, PLLC
                                    Richard M. Hagstrom, (MN 039445)
                                    Anne T. Regan, (MN 333852)
                                    Nicholas S. Kuhlmann, (MN 33750)
                                    Jason Raether, (MN 394857)
                                    8050 West 78th Street
                                    Edina, MN 55439
                                    Telephone: (952) 941-4005
                                    Facsimile: (952) 941-2337
                                    rhagstrom@hjlawfirm.com
                                    aregan@hjlawfirm.com
                                    nkuhlmann@hjlawfirm.com
                                    jraether@hjlawfirm.com

                                    ROXANNE CONLIN &
                                    ASSOCIATES, PC
                                    Roxanne Barton Conlin
                                    3721 S.W 61st St.
                                    Des Moines, Iowa, 50321
                                    Telephone: (515) 283-1111
                                    roxlaw@aol.com


                                4
CASE 0:17-md-02795-MJD-KMM Document 158 Filed 05/23/18 Page 5 of 6




                                        HENINGER GARRISON DAVIS,
                                        LLC
                                        James F. McDonough, III
                                        3621 Vinings Slope, Suite 4320
                                        Atlanta, GA 30339
                                        Telephone: (404) 996-0869
                                        Facsimile: (205) 326-3332
                                        jmcdonough@hgdlawfirm.com

                                        HENINGER GARRISON DAVIS,
                                        LLC
                                        Francois M. Blaudeau
                                        W. Lewis Garrison, Jr.
                                        Christopher B. Hood
                                        2224 1st Ave North
                                        Birmingham, AL 35203
                                        Telephone: (205) 326-3336
                                        Facsimile: (205) 380-0145
                                        francois@southernmedlaw.com
                                        lewis@hgdlawfirm.com
                                        chood@hgdlawfirm.com

                                        Plaintiffs’ Executive Committee


  HODGE & LANGLEY LAW FIRM,             OLSEN DAINES PC
  P.C.                                  Michael Fuller, OSB No. 09357
  T. Ryan Langley                       Olsen Daines PC
  229 Magnolia St.                      US Bancorp Tower
  Spartanburg, SC 29306                 111 SW 5th Ave., Suite 3150
  Telephone: (864) 585-3873             Portland, Oregon 97204
  Facsimile: (864) 585-6485             Telephone: (503) 201-4570
  rlangley@hodgelawfirm.com             michael@underdoglawyer.com

  FERNALD LAW GROUP LLP                 WALSH PLLC
  Brandon C. Fernald                    Bonner C. Walsh
  6236 Laredo Street                    PO Box 7
  Las Vegas, NV 89146                   Bly, OR 97622
  Telephone: (702) 410-7500             Telephone: (541) 359-2827
  Facsimile: (702) 410-7520             Facsimile: (866) 503-8206
  brandon.fernald@fernaldlawgroup.com   bonner@walshpllc.com



                                   5
CASE 0:17-md-02795-MJD-KMM Document 158 Filed 05/23/18 Page 6 of 6




  ATTORNEY ALFRED M.                    GARDY & NOTIS, LLP
  SANCHEZ                               Orin Kurtz
  Alfred M. Sanchez                     126 East 56th Street, 8th Floor
  400 Gold Ave. SW, #240                New York, NY 10022
  Albuquerque, NM 87102                 Telephone: (212) 905-0509
  Telephone: (505) 242-1979             Fax: (212) 905-0508
  lawyeralfredsanchez@gmail.com         okurtz@gardylaw.com

                 Counsel for Plaintiffs and the Proposed Class




                                   6
